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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

COR CLEARING, LLC, a Delaware limited         ) Case No. _________________
liability company,                            )
                                              )
                                              )
                              Applicant,      ) APPLICANT’S NOTICE OF MOTION
                                              )   TO COMPEL PRODUCTION OF
                      vs.                     )    DOCUMENTS AND THINGS IN
                                              )      RESPONSE TO SUBPOENA
NATIONAL FINANCIAL SERVICES LLC,              )
                                              )
                                              )
                              Respondent.     )

TO:    National Financial Services LLC
       c/o William Ballon, Registered Agent
       23C Lincoln Place, Suite C
       North Brunswick, New Jersey 08902

       PLEASE TAKE NOTICE that on a date and time to be determined by the Court,

Applicant COR Clearing, LLC (“COR Clearing”), will move before the Court for an Order to

Show Cause why Respondent National Financial Services LLC (“NFS”) should not be

compelled to comply with COR Clearing’s subpoena served on December 8, 2015.

       PLEASE TAKE FURTHER NOTICE that in support of its Motion, COR Clearing will

rely upon the accompanying Memorandum of Law, and exhibits.

       PLEASE TAKE FURTHER NOTICE that a proposed form of Order granting the relief

requested is submitted herewith.

       Dated: December 31, 2015                  By: s/Robert P. Gammel
                                                 Robert P.Gammel
                                                 Law Offices of Jan Meyer
                                                 & Associates, P.C.
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                                       LOCAL COUNSEL TO APPLICANT COR
                                       CLEARING, LLC

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                                       ATTORNEYS FOR APPLICANT COR
                                       CLEARING LLC, LLC
